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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

           UNITED STATES OF AMERICA :
                                    :
                    v.              :                     CRIMINAL ACTION FILE
                                    :
           ARTIS LISBON,            :                     NO. 1:10-CR-251-10-TWT/AJB
                                    :                     (Third Superseding)
                         Defendant. :

                                    ORDER FOR SERVICE OF
                                 REPORT AND RECOMMENDATION

                 Attached is the Report and Recommendation (“R&R”) of the United States

           Magistrate Judge made in accordance with 28 U.S.C. § 636(b)(1) and

           N.D. Ga. CrR. 58.1(A)(3)(a), (b). Let the same be filed and a copy of the R&R,

           together with a copy of this Order, shall be served upon counsel for the parties.

                 Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections to the

           R&R within fourteen (14) days of service of this Order. Should objections be filed,

           they shall specify with particularity the alleged error(s) made (including reference by

           page number to the transcript if applicable) and be served upon the opposing party. See

           United States v. Gaddy, 894 F.2d 1307, 1315 (11th Cir. 1990). The party filing

           objections will be responsible for obtaining and filing the transcript of any evidentiary




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           hearing for review by the District Court. Failure to object in accordance with this rule

           waives a party’s right to review. FED. R. CRIM. P. 59(b)(2).

                 Pursuant    to   18    U.S.C.    §   3161(h)(1)(H),      the   above-referenced

           fourteen (14) days allowed for filing objections is EXCLUDED from the

           computation of time under the Speedy Trial Act (“the Act”), whether or not

           objections are actually filed. If objections to this R&R are filed, the Clerk is

           DIRECTED to EXCLUDE from the computation of time all time between the filing

           of the R&R and the submission of the R&R, along with any objections, responses and

           replies thereto, to the District Judge. 18 U.S.C. § 3161(h)(1)(D), (H); Henderson v.

           United States, 476 U.S. 321, 331 (1986); United States v. Mers, 701 F.2d 1321, 1337

           (11th Cir. 1983). The Clerk is DIRECTED to submit the R&R with objections, if any,

           to the District Court after expiration of the above time period.

                 IT IS SO ORDERED and DIRECTED, this 26th day of February , 2012.




                                                   ALAN J. BAVERMAN
                                                   UNITED STATES MAGISTRATE JUDGE




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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

           UNITED STATES OF AMERICA :
                                    :
                    v.              :                     CRIMINAL ACTION FILE
                                    :
           ARTIS LISBON,            :                     NO. 1:10-CR-251-10-TWT/AJB
                                    :                     (Third Superseding)
                         Defendant. :

                           UNITED STATES MAGISTRATE JUDGE’S
                       SECOND FINAL REPORT AND RECOMMENDATION

                 Before the Court is Defendant Artis Lisbon’s Motion in Limine, [Doc. 355],

           specifically as it relates to his request to his exclude from his trial any evidence of an

           out-of-court identification of him by co-defendant Jose Trinidad Ayala-Baez, a/k/a

           “Trino,” and any in-court identification of Defendant by Ayala-Baez.1 The government

           has filed a response, [Doc. 368], and Lisbon has replied. [Doc. 379]. For the following

           reasons, the undersigned RECOMMENDS that the motion be DENIED without an

           evidentiary hearing.




                 1
                        At the latest pretrial conference in this action, the undersigned
           DEFERRED to the District Court Lisbon’s motion in limine as it relates to his request
           to exclude from his trial evidence of (1) his 1996 guilty plea, and (2) the seizure of
           money and assets. [Doc. 362].


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                 Facts

                 As reflected in the parties’ briefs and other materials on file, on June 9, 2010,

           DEA agents arrested Jose Trinidad Ayala-Baez, a/k/a “Trino” on federal drug

           charges. [Doc. 355 at 3]. When interviewed the following day, Ayala-Baez was asked

           about a subject named “Bebe,” and he replied that Bebe was a black male customer to

           whom he was instructed to deliver cocaine by another subject of the investigation

           (“Burra”). Burra also instructed Ayala-Baez to pick up drug proceeds from Bebe on

           more than one occasion. [Doc. 355 at 3; see also Doc. 178-1 at 20-21, ¶ 23]. Ayala-

           Baez was shown a photographic lineup containing eight photographs of black males,

           and he identified Lisbon’s photo (# 7) as the individual known to him as Bebe. [Id.;

           Doc. 355-1 at 2; Doc. 368-1 at 1]. The photograph of Lisbon used in the lineup was

           taken from his Georgia driver’s license, which was issued on April 19,

           2007. [Doc. 368 at 2 (citing Doc. 257 at 39-40 and Def. Ex. 2 at the April 13, 2011,

           evidentiary hearing); see also Doc. 368-2 at 1].

                 Ayala-Baez also told the interrogating agents that in the past ten months, he had

           personally delivered a total of approximately 50 kilograms of cocaine to

           Bebe. [Doc. 178-1, ¶ 23]. He also stated that he had picked up payment from Bebe on

           at least three occasions and sent another co-conspirator, Tin, on other occasions. [Id.].

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           Further, Ayala-Baez explained that in September 2009, he delivered a pick-up truck

           with a hidden compartment to Lisbon, which event was corroborated by intercepted

           calls and agent surveillance. [Doc. 178-1, ¶¶ 9, 23; Doc. 257 at 44-45]. Ayala-Baez

           identified a photograph of 1827 Lomita Road as the place he delivered the truck to

           Bebe, and he also identified 1899 Trotti Street as the location at which he picked up

           drug proceeds from Bebe within the past couple of weeks. [Doc. 178-1, ¶ 23]. He also

           stated that Bebe drove a late model brown Chevrolet Impala. [Id.].

                 Arguments of the Parties

                 Lisbon argues that Ayala-Baez’ out-of-court identification was impermissibly

           suggestive and unreliable, and that the identification and any proposed in-court

           identification by Ayala-Baez should be excluded from trial so as to not violate his due

           process rights. [Doc. 355 at 10]. He argues that, while all of the individuals depicted

           in the photographic spread were African-American males, only he had a full beard, and

           his photograph also appears to be displayed in sharper contrast than the surrounding

           photographs. [Id. at 10-11]. He also contends that since DEA Task Force Agent Noe’s

           affidavit sets forth that Ayala-Baez only saw Lisbon on several occasions and on other

           occasions, another co-conspirator dealt with Lisbon, Ayala-Baez’s interaction with




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           Lisbon was limited, and thus his subsequent identification of Lisbon cannot be deemed

           reliable. [Id. at 11].

                  In response, the government argues that case law holds that a photographic

           spread is not unduly suggestive merely because a defendant’s photograph can be

           distinguished from the others in the lineup.      [Doc. 368 at 3 (citations omitted)].

           It further contends that although Lisbon might have had more facial hair than the other

           persons depicted in the photo spread, almost all of the others in the spread had some

           facial hair. [Id. at 5]. The government also submits that the fact that Lisbon had facial

           hair actually made him less likely to be identified, since in another photograph - -

           Lisbon’s identification from Auction Access, which the government seized during

           Lisbon’s arrest, [Doc. 368-2] - - he did not have a beard. [Doc. 368 at 5]. In any event,

           the government argues, any difference in the photographs due to Lisbon’s facial hair

           is so minor that it did not render the spread unduly suggestive. [Id. at 6].

                  The government next argues that Lisbon’s photo is not more sharp than the

           others and points out that the person at position # 1 in the spread also is depicted in a

           sharp photograph. [Id.]. The government further argues that even if Lisbon’s

           photograph is more sharp than the others, this minor difference does not render the

           spread impermissibly suggestive. [Id. at 6-7 (citations omitted)]. As a result, the

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           government contends that Lisbon has not made a sufficient showing to warrant an

           evidentiary hearing. [Id. at 7-8].

                 In reply, Lisbon adds that his photograph was darker in contrast and background

           than the others. [Doc. 379 at 1-2]. He takes issue with the government’s argument that

           the differences between his photograph and that of the others displayed in the spread

           were minor. He notes that the cases have recognized the “ ‘high incidence of

           miscarriage of justice’ ” [Id. at 2 (quoting United States v. Williams, 592 F.2d 1277,

           1281 (5th Cir. 1979)2]. Lisbon also relies upon the former Fifth Circuit’s decision in

           United States v. Gidley, 527 F.2d 1345, 1350 (5th Cir. 1976), which recognized that

           differences   in   hair   in   a     photographic   lineup    can   be    impermissibly

           suggestive. [Doc. 379 at 3-4]. Attempting to distinguish the government’s cases,

           Lisbon further argues that his beard is a substantial difference from the other depictees,

           even if some of them had thin moustaches, which thus rendered the lineup

           impermissibly suggestive and thus created a substantial risk of misidentification. He

           contends that this difference alone mandates an evidentiary hearing. [Id. at 4-5].




                 2
                        In Williams, the photo identification was found to present an issue as to
           impermissible suggestiveness, where the defendant’s image was the only one common
           in two separate arrays shown to the identification witnesses. 592 F.2d at 1281.

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                 Lisbon also takes issue with the government’s argument that Lisbon’s photo

           being darker or more sharp than the others’ photos also was merely a minor difference,

           particularly since he also was the only person shown with full facial hair. [Id. at 5-6].

                 Discussion

                 Due process prohibits witnesses from testifying about out-of-court identifications

           when there is a very substantial likelihood of misidentification. Neil v. Biggers,

           409 U.S. 188, 198 (1972). “[T]hat the identification procedure used was suggestive,

           alone, does not violate due process.” Irwin v. McDonough, 243 Fed. Appx. 486, 492

           (11th Cir. June 19, 2007) (citing Neil, 409 U.S. at 198-99). Instead, “a claimed violation

           of due process of law in the conduct of a confrontation[, i.e., an out of court

           identification,] depends on the totality of the circumstances surrounding it . . . .”

           Stovall v. Denno, 388 U.S. 293, 302 (1967), overruled on other grounds by Griffith v.

           Kentucky, 479 U.S. 314 (1987). Thus, the “central question” is “whether under the

           ‘totality of the circumstances’ the identification was reliable even though the

           confrontation procedure was suggestive.” Neil, 409 U.S. at 199; see also Manson v.

           Brathwaite, 432 U.S. 98, 113-14 (1977) (emphasizing that the totality of the

           circumstances were examined to determine whether identification testimony was




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           admissible). “[R]eliability is the linchpin in determining the admissibility of

           identification testimony . . . .” Manson, 432 U.S. at 114.

                 Courts in the Eleventh Circuit employ a two-part test in examining whether an

           out-of-court identification violates due process. First, courts determine whether the

           identification procedure was impermissibly suggestive. Second, if the procedure was

           impermissible suggestive, courts next examine whether the identification procedure

           created a substantial likelihood of misidentification. United States v. Smith, 459 F.3d

           1276, 1294 (11th Cir. 2006) (citing United States v. Russo, 796 F.2d 1443, 1452

           (11th Cir. 1986)); see also Cikora v. Dugger, 840 F.2d 893, 895 (11th Cir. 1988). The

           undersigned addresses each step of the analysis separately.

                 When evaluating the suggestiveness of a photo array, courts examine several

           factors including: (1) the size of the array; (2) the manner of its presentation by law

           enforcement officers; and (3) the details of the photographs. See United States v. Thai,

           29 F.3d 785, 808 (2d Cir. 1994); United States v. Sanchez, 24 F.3d 1259, 1262 (10th Cir.

           1994); United States v. Cary, No. 1:07-cr-74, 2008 WL 80650, *20 (N.D. Ga. Jan. 4,

           2008) (Duffey, J., adopting Vineyard, M.J.).

                 The undersigned concludes that the photo array was not unduly suggestive. First,

           the undersigned notes that arrays of eight photographs are not by themselves

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           suggestive. United States v. Boston, 508 F.2d 1171, 1177 (2d Cir. 1974) (eight

           photographs not impermissibly suggestive); United States v. McNeill, Criminal

           No. 06-373, 2007 WL 2234516, *4 (W.D. Pa. Aug. 2, 2007) (array of eight

           photographs is sufficient size); United States v. Cox, No. 3:00CR69 (AHN),

           2001 WL 50551, *3 (D. Conn. Jan. 10, 2001) (array of eight photographs “not unduly

           small”); United States v. Frank, No. 97 CR. 269(DLC), 1998 WL 292320, *2

           (S.D.N.Y. June 3, 1998) (eight photographs not suggestive, citing Boston, id.).3

           Cf. United States v. James, 415 F. Supp. 2d 132, 166 (E.D.N.Y. 2006) (“[C]ourts have

           generally held that a photo array containing six or more photographs is sufficiently

           large so as not to be unduly suggestive.”). As a result, the eight-photograph array

           displayed to Ayala-Baez is not inherently problematic.

                 Second, Lisbon makes no claim in any of his filings that the manner in which the

           photos were displayed to Ayala-Baez was suggestive. In any event, the record belies

           the viability of such a claim. Ayala-Baez was first asked about “Bebe” and to explain

           who that person was. He then picked out Lisbon’s photo from an eight-subject photo

           spread. Ayala-Baez also described how he knew Lisbon. That Ayala-Baez also used


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                       The Court notes that Lisbon does not contend that the eight-photo array
           was too small a sample.

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           one or more other individuals to deliver drugs or pick up proceeds from Lisbon in

           addition to himself does not render his recognition of Lisbon unreliable or based on a

           fleeting opportunity to view the suspect. Ayala-Baez described multiple encounters

           with Lisbon, and it is not unreasonable to conclude that the repetitive nature of their

           illegal transactions and the significant quantities of drugs dealt between Lisbon and

           Ayala-Baez would generate the need for mutual familiarity in order to attain a sufficient

           level of trust between them. The undersigned further notes that Lisbon makes no claim

           of the type of procedures even remotely close to those where the Eleventh Circuit or

           Former Fifth Circuit found unduly suggestive photograph procedures. See Mardsen v.

           Moore, 847 F.2d 1536, 1546 (11th Cir. 1988) (citing and summarizing cases and

           holding photographic identification procedures impermissibly suggestive where the

           defendant was the only male in the photographs shown to the witness).

                 Third, the undersigned concludes that the photographs themselves are not

           suggestive. The photographs are relatively similar. They all depict men who appear

           to be African-Americans of similar age and skin color. The photos all show the same

           pose, i.e., they show the frontal view of the faces and part of the shoulders or shirt

           collars of six of the persons depicted (## 1, 3, 4, 6, and 8 plus Lisbon (# 7)), with each

           man looking straight ahead. The background in each photo is similar, and although the

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           background of Lisbon’s photo is somewhat darker, it is close in shading to # 1. It also

           is significant that the background of photo # 5 is much lighter than the rest. Also, at

           least Defendant and ## 6 and 8 appear to be wearing one or more stud earrings. All of

           the persons depicted have similar closely cropped haircuts.

                 Lisbon’s most strenuously-made objection to the photo spread is to the

           differences in facial hair, since he was the only subject with a beard. However, that

           there are some differences in physical appearance does not render the array

           impermissibly suggestive. See United States v. Ullrich, 580 F.2d 765, 773 (5th Cir.

           1978) (citations omitted)4; see also United States v. Traeger, 289 F.3d 461, 474 (7th Cir.

           2002) (noting that law enforcement is not required “to search for identical twins in age,

           height, weight, or facial features”). For example, in Cikora, the court found no

           impermissible suggestiveness in a lineup procedure in which the defendant’s facial hair

           was more sparse than most of the other participants. 840 F.2d at 897. Similarly, a

           line up depicting the defendant as the only individual wearing glasses has likewise been

           found to be appropriate. United States v. Ricks, 817 F.2d 692 (11th Cir. 1987). In

           Blanco v. Dugger, 691 F. Supp. 308, 312 (S.D. Fla.1988), aff’d sub nom. Blanco v.

                 4
                        In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981)
           (en banc), the Eleventh Circuit adopted as binding precedent all of the decisions of the
           former Fifth Circuit handed down prior to the close of business on September 30, 1981.

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           Singletary, 943 F.2d 1477 (11th Cir. 1991), the defendant’s facial hair and dress

           differences were not found to be “ ‘unnecessarily suggestive and conducive to

           irreparable mistaken identification.’ ” (quoting Foster v. California, 394 U.S. 440, 442

           (1969)); cf. United States v. Burbridge, 252 F.3d 775, 780 n. 5 (5th Cir. 2001) (that

           defendant was the only one in photographic lineup with black t-shirt not impermissibly

           suggestive); Harker v. Maryland, 800 F.2d 437, 444 (4th Cir.1986) (photo array not

           impermissibly suggestive where only one other individual wore clothing similar to

           defendant’s clothing, as identification based more on facial features than clothing).

                 United States v. Gidley, 527 F.2d 1345 (5th Cir. 1976), upon which Lisbon relies,

           is clearly distinguishable. In Gidley, the defendant was only person depicted with

           Asian appearance and long black hair. Here, although Lisbon appears to be the only

           persons with beard hair, the beard is not overly noticeable, and other persons depicted

           in the spread had moustaches. The differences in this case pale in comparison to those

           found impermissibly suggestive in Gidley.

                 Based on the above discussion, the undersigned concludes that the photo array

           was not impermissibly suggestive. As a result, the Court concludes that an evidentiary

           hearing is not warranted. As the court in United States v. Brown, 441 F.3d 1330, 1350

           (11th Cir. 2006), observed, the Constitution does not impose a per se rule requiring an

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           evidentiary hearing in every case (citing Watkins v. Sowders, 449 U.S. 341, 349 (1981),

           and United States v. Smith, 546 F.2d 1275, 1279-80 (5th Cir. 1977) (holding that “[a]n

           evidentiary hearing is not required where none of the critical facts are in dispute and

           the facts as alleged by the defendant if true would not justify the relief requested”

           (quotation marks omitted)). Here, there are no facts in dispute as to the differences of

           the photographs in the array. Nor, as noted, has Lisbon presented any facts suggesting

           that the techniques used by the police were “unduly suggestive.” Under these

           circumstances, the Court is not required to hold an evidentiary hearing. See United

           States v. Cooper, 203 F.3d 1279, 1285 (11th Cir. 2000) (no abuse of discretion in

           denying motion for an evidentiary hearing where underlying motion to suppress was

           “wholly lacking in sufficient factual allegations”).

                 By making a finding that the photo display and procedures used were not

           impermissibly suggestive, the undersigned need not examine second part of the due

           process analysis. See Cikora, 840 F.2d at 895-96 (“If [a court] conclude[s] that the

           photo array was not impermissibly suggestive, [the court] need not proceed to” the

           second step.); Williams v. Weldon, 826 F.2d 1018, 1021 (11th Cir. 1987) (noting that if

           a photo array is not unduly suggestive, the due process inquiry ends). However, the




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           undersigned discusses this second step in case the District Court disagrees with the

           undersigned’s conclusion about suggestiveness.

                        2.     Misidentification

                 If a photo array is unduly suggestive, a court must proceed to analyze the second

           step, namely “whether, under the totality of the circumstances, the identification was

           nonetheless reliable.” United States v. Barber, 132 Fed. Appx. 233, 235 (11th Cir.

           May 9, 2005) (quoting Cikora, 840 F.2d at 895).               To make this reliability

           determination, courts examine the following factors: “(1) opportunity to view;

           (2) degree of attention; (3) accuracy of the description;[5] (4) level of certainty; and

           (5) length of time between the crime and the identification.” Id. (citing Neil, 409 U.S.

           at 199). “Against these factors is to be weighed the corrupting effect of the suggestive

           identification itself.” Manson, 432 U.S. at 114.




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                          The undersigned does not address this factor in this case because this
           factor addresses “the accuracy of the witness’s prior description of the defendant.”
           Howard v. Bouchard, 405 F.3d 459, 473 (6th Cir. 2005). Here, there is no indication
           that Ayala-Baez was asked to give a description of Defendant prior to viewing the
           array, beyond describing him as a black male. As a result, the undersigned does not
           find that this factor is relevant for the totality analysis below. See Haliym v. Mitchell,
           492 F.3d 680, 705 (6th Cir. 2007) (“The third factor in inapposite. Nothing in the record
           suggests that [the witness] provided a description of the suspect to the police prior to
           the line-up.”).

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                 The undersigned concludes that Ayala-Baez’ identification was otherwise

           reliable based on the totality of the circumstances. First, the undersigned concludes that

           he had an opportunity to view Lisbon based on their multiple drug transactions

           together, the last opportunity being a couple of weeks before identifying Lisbon in the

           photo spread. The undersigned therefore rejects Lisbon’s argument that Ayala-Baez

           did not have sufficient opportunity to view him. Also, the record shows that in addition

           to having dealt drugs or picked up money with him on multiple occasions, Ayala-Baez

           was familiar with the locations Lisbon used to deal drugs (the Lomita and Trotti

           properties, [Doc. 178-2, ¶ 23]), thus corroborating his familiarity with Lisbon. Given

           this evidence and the fact that the quantity of drugs Lisbon and Ayala-Baez were

           dealing with would require familiarity with each other in order to establish trust, the

           undersigned concludes that Ayala-Baez had the opportunity to pay, and in fact paid,

           close attention to Defendant.

                 Next, the undersigned concludes that the evidence indicates that Ayala-Baez was

           certain in identifying Defendant. He knew him by nickname, knew his residences,

           delivered a vehicle and cocaine to him and retrieved money from him. There is no

           indication that Ayala-Baez had difficulty identifying Defendant.




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                 Finally, the undersigned finds that the time lapse of “the past couple of weeks”

           between the identification and Ayala-Baez’s last contact with Lisbon was not too

           attenuated to render his identification unreliable. Initially, the undersigned notes that

           courts have determined that even a period of three months is not too long between an

           observation and identification. See Howard v. Bouchard, 405 F.3d 459, 473 (6th Cir.

           2005); United States v. Wiseman, 172 F.3d 1196, 1211 (10th Cir. 1999) (“Three months

           is not an extremely long time however, and we conclude that this factor weighs in favor

           of the reliability of the identifications . . . .”). Also, courts have determined that a

           period of four months between a witnesses’ observation and identification of a suspect

           is not too lengthy a period of time to render an identification unreliable. Kubat v.

           Thieret, 867 F.2d 351, 359 (7th Cir. 1989) (four month period from crime to

           identification “was not so inordinate as to outweigh the other factors”); United States

           v. Wilson, 787 F.2d 375, 386 (8th Cir. 1986) (period of four months between

           identification and crime did not render identification unreliable); United States v.

           Ladoucer, No. 07-cr-165, 2007 WL 3375223, *22 (D. Minn. Aug. 30, 2007) (R&R)

           (three to four month delay between encounter with defendant and identification was not

           unreasonable amount of time to remember faces of individuals with whom witness had

           contact). As a result, the undersigned concludes that the “past couple of weeks” in this

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           case between the identification and the witness’s last encounter with Lisbon does not

           render the identification unreliable. This is especially true in this case because Ayala-

           Baez had interacted with Defendant on multiple occasions prior to his last encounter

           with him.

                 Based on the above discussion, each relevant factor outlined in Biggers weighs

           in favor of finding that Ayala-Baez’s identification was reliable. The undersigned

           again reiterates that he developed a familiarity with Defendant based on his multiple

           encounters with him. Under the totality of the circumstances, the undersigned

           concludes that the identification was reliable even if the photo array was suggestive.

                 Accordingly, the undersigned RECOMMENDS that Defendant Artis Lisbon’s

           Motion in Limine, [Doc. 355], specifically as it relates to an alleged out-of-court

           identification of him by co-defendant Ayala-Baez, and any in-court identification of

           Defendant by Ayala-Baez, be DENIED WITHOUT AN EVIDENTIARY

           HEARING. The balance of the motion in limine is DEFERRED to the District Court.

                 Having ruled upon all motions referred to the undersigned, the Court again

           CERTIFIES this action as it relates to Defendant Lisbon READY FOR TRIAL.




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                 IT IS SO RECOMMENDED and CERTIFIED, this the             26th    day of

           February, 2012.




                                             ALAN J. BAVERMAN
                                             UNITED STATES MAGISTRATE JUDGE




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